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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  KAIST IP US LLC,                               §
                                                 §
                   Plaintiff                     §
                                                 §
        v.                                       §       NO. 2:16-cv-01314-JRG-RSP
                                                 §
  SAMSUNG ELECTRONICS CO., LTD.;                 §       JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS AMERICA,                   §
  INC.; SAMSUNG SEMICONDUCTOR,                   §
  INC.; SAMSUNG AUSTIN                           §
  SEMICONDUCTOR, LLC;                            §
  GLOBALFOUNDRIES INC.;                          §
  GLOBALFOUNDRIES U.S. INC.; and                 §
  QUALCOMM INC.,                                 §
                                                 §
                   Defendants.


      ORDER GRANTING DEFENDANTS’ MOTION TO EXCLUDE OPINION AND
        TESTIMONY OF PLAINTIFF’S DAMAGES EXPERT ROY WEINSTEIN

        Before the Court is Defendants’ Motion to Exclude Opinion and Testimony of Plaintiff’s

  Expert Damages Expert Roy Weinstein.

        After consideration of said motion, the Court finds that it is well taken and is hereby

  GRANTED.
